Case 3:04-cv-00326-DMS-JFS Document 56 Filed 12/21/04 PageID.910 Page 1 of 22
Case 3:04-cv-00326-DMS-JFS Document 56 Filed 12/21/04 PageID.911 Page 2 of 22
Case 3:04-cv-00326-DMS-JFS Document 56 Filed 12/21/04 PageID.912 Page 3 of 22
Case 3:04-cv-00326-DMS-JFS Document 56 Filed 12/21/04 PageID.913 Page 4 of 22
Case 3:04-cv-00326-DMS-JFS Document 56 Filed 12/21/04 PageID.914 Page 5 of 22
Case 3:04-cv-00326-DMS-JFS Document 56 Filed 12/21/04 PageID.915 Page 6 of 22
Case 3:04-cv-00326-DMS-JFS Document 56 Filed 12/21/04 PageID.916 Page 7 of 22
Case 3:04-cv-00326-DMS-JFS Document 56 Filed 12/21/04 PageID.917 Page 8 of 22
Case 3:04-cv-00326-DMS-JFS Document 56 Filed 12/21/04 PageID.918 Page 9 of 22
Case 3:04-cv-00326-DMS-JFS Document 56 Filed 12/21/04 PageID.919 Page 10 of 22
Case 3:04-cv-00326-DMS-JFS Document 56 Filed 12/21/04 PageID.920 Page 11 of 22
Case 3:04-cv-00326-DMS-JFS Document 56 Filed 12/21/04 PageID.921 Page 12 of 22
Case 3:04-cv-00326-DMS-JFS Document 56 Filed 12/21/04 PageID.922 Page 13 of 22
Case 3:04-cv-00326-DMS-JFS Document 56 Filed 12/21/04 PageID.923 Page 14 of 22
Case 3:04-cv-00326-DMS-JFS Document 56 Filed 12/21/04 PageID.924 Page 15 of 22
Case 3:04-cv-00326-DMS-JFS Document 56 Filed 12/21/04 PageID.925 Page 16 of 22
Case 3:04-cv-00326-DMS-JFS Document 56 Filed 12/21/04 PageID.926 Page 17 of 22
Case 3:04-cv-00326-DMS-JFS Document 56 Filed 12/21/04 PageID.927 Page 18 of 22
Case 3:04-cv-00326-DMS-JFS Document 56 Filed 12/21/04 PageID.928 Page 19 of 22
Case 3:04-cv-00326-DMS-JFS Document 56 Filed 12/21/04 PageID.929 Page 20 of 22
Case 3:04-cv-00326-DMS-JFS Document 56 Filed 12/21/04 PageID.930 Page 21 of 22
Case 3:04-cv-00326-DMS-JFS Document 56 Filed 12/21/04 PageID.931 Page 22 of 22
